     Case 1:18-cv-00068 Document 88 Filed in TXSD on 06/15/18 Page 1 of 1

                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS


State of Texas, et al.

v.                                           Case Number: 1:18−cv−00068

United States of America, et al.




                               NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
Andrew S Hanen
PLACE:
by telephone
United States District Court
600 E. Harrison
Brownsville, TX
DATE: 6/18/2018

TIME: 03:30 PM
TYPE OF PROCEEDING: Telephone Conference


NOTE: ALL COUNSEL OF RECORD RECEIVING THIS NOTICE ARE
ORDERED TO NOTIFY ALL OTHER COUNSEL IN THIS CASE OF THE
CONTENTS OF THIS NOTICE.

Date: June 15, 2018
                                                        David J. Bradley, Clerk
